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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. HENDERSON2023 OK 104Case Number: SCBD-7527Decided: 11/06/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 104, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION Complainant,
v.
TIMOTHY ROBERT HENDERSON, Respondent.




ORDER APPROVING RESIGNATION


¶1 On October 16, 2023, the Oklahoma Bar Association (OBA), notified the Court that the respondent, Timothy Robert Henderson, (respondent), resigned from the OBA pending disciplinary proceedings. The disciplinary proceedings relate to formal charges filed for violation of the Rules of Professional Conduct, 5 O.S. 2021, Ch. 1, app. 3-A, that he, while serving as a judge of the District Court in Oklahoma County, Oklahoma, engaged in secretive, undisclosed sexual relationships with two Oklahoma County Assistant District Attorneys who were assigned the prosecution of criminal cases before him as a judge.1

¶2 THE COURT FINDS:

1. The respondent has voluntarily resigned from the Oklahoma Bar Association by complying with Rule 8.1 and Rule 8.2, Rules Governing Disciplinary Proceedings, 5 O.S. 2021 Ch. 1, App. 1-A. The respondent's affidavit of resignation reflects that: a) it was freely and voluntarily rendered; b) he was not subject to coercion or duress; and c) he was fully aware of the consequences of submitting the resignation.

2. The respondent states that he is aware of the formal charges filed against him on August 10, 2023.

3. The respondent states in his affidavit of resignation that he is aware that the allegations of conduct, if proven, would be a violation of Rule 8.4(c) and 8.4(d) of the Oklahoma Rules of Professional Conduct, 5 O.S. 2021, Ch. 1, App. 3-A. and of his oath as an attorney.

4. The respondent's resignation pending disciplinary proceedings is in compliance with all of the requirements set forth in Rule 8.1, Rules Governing Disciplinary Proceedings, 5 O.S. 2021, Ch. 1, App. 1-A and it should be approved.

5. The official roster address of the respondent as shown by the Oklahoma Bar Association is 3909 NW Expressway, Oklahoma City, Oklahoma 73112.

6. The Bar Association seeks reimbursement of costs.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Timothy Robert Henderson's resignation pending discipline be approved.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Timothy Robert Henderson's name be stricken from the roll of attorneys. Because resignation pending disciplinary proceedings is tantamount to disbarment, the respondent may not make an application for reinstatement prior to the expiration of 5 years from the date of this order. Costs of $153.87 are imposed in this proceeding, to be paid within ninety days of the date of this order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 6th DAY OF NOVEMBER, 2023.

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/S/ACTING CHIEF JUSTICE



KANE, C.J., ROWE, V.C.J., KAUGER, WINCHESTER, EDMONDSON, COMBS, DARBY AND KUEHN, JJ., concur.


GURICH, J., not participating.


FOOTNOTES


1 Rule 8.4 of the Oklahoma Rules of Professional Conduct, 5 O.S. 2021 Ch. 1, App. 3-A provides:

It is professional misconduct for a lawyer to:

(a) violate or attempt to violate the Rules of Professional Conduct, knowingly assist or induce another to do so, or do so through the acts of another;

(b) commit a criminal act that reflects adversely on the lawyer's honesty, trustworthiness or fitness as a lawyer in other respects;

(c) engage in conduct involving dishonesty, fraud, deceit or misrepresentation;

(d) engage in conduct that is prejudicial to the administration of justice;

(e) state or imply an ability to influence improperly a government agency or official or to achieve results by means that violate the Rules of Professional Conduct or other law; or

(f) knowingly assist a judge or judicial officer in conduct that is a violation of applicable rules of judicial conduct or other law.








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